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Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

 

Case number (if known) Chapter 41

 

[L) Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy ang

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Brittmoore SS Investment, LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification  XX-XXXXXXX

 

 

 

 

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
1100 NASA Parkway, Suite 685
Houston, TX 77058
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Harris Location of principal assets, if different from principal
County place of business

1050 Brittmoore Rd. Houston, TX 77043
Number, Street, City, State & ZIP Code

 

 

5. Debtor's website (URL)

 

 

6. Type of debtor f¥) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Ci Partnership (excluding LLP)
[| Other. Specify:

 

 

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Debtor —_ Brittmoore SS Investment, LLC Case number (if known) ;
Name

 

7. Describe debtor's business A. Check one:
[_] Health Care Business (as defined in 11 U.S.C. § 101(27A))
[¥/ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
[1 Railroad (as defined in 11 U.S.C. § 101(44))
(_] Stockbroker (as defined in 14 U.S.C. § 101(53A))
(C] Commodity Broker (as defined in 11 U.S.C. § 101(6))
[[] Clearing Bank (as defined in 11 U.S.C. § 781(3))
["] None of the above

B. Check all that apply

(CI Tax-exempt entity (as described in 26 U.S.C. §501)

[_] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
[_] Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http://Awww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

8. Under which chapter of the Check one:
Bankruptcy Code is the [1] Chapter 7

 

 

 

 

 

debtor filing?
[_] Chapter 9
[¥| Chapter 11. Check all that apply.
[| Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
[| The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debior, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).
[| Aplanis being filed with this petition.
[-)_ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
C The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
["]_ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
(C] Chapter 12
9. Were prior bankruptcy [¥] No.
cases filed by or against
the debtor within the lasts [1 Yes.
years?
If more than 2 cases, attach a
separate list. District When Case number
District When Case number
10. Are any bankruptcy cases [| No
pending or being filed by a
business partner or an Iv] Yes.
affiliate of the debtor?
Corporate
List all cases. If more than 1, . Parent/Equity
attach a separate list Debtor TMSC Properties, LLC Relationship Owner
Southern District of
District Texas When 6/27/19 Case number, ifknown 19-33556

 

 

 

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Debtor _Brittmoore SS Investment, LLC
Name

11. Why is the case filed in Check ail that apply:
this district?

Case number (if known)

 

ivi Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

lv! Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor ownor [7] No
have possession of any

real property or personal [_] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs
immediate attention?

Why does the property need immediate attention? (Check all that apply.)

[_] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

[1 It needs to be physically secured or protected from the weather.

L] It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

(| Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code

Is the property insured?

 

 

[7] No

Cl Yes, Insurance agency
Contact name
Phone

 

 

Pee Statistical and administrative information

 

13. Debtor's estimation of Check one:

avallabie tents [| Funds will be available for distribution to unsecured creditors.

[_| After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of [7] 1-49 [J 1,000-5,000 [| 25,001-50,000
creditors [| 50-99 [_] 5001-10,000 | 50,001-100,000
[| 100-199 [J 10,001-25,000 |_| More than100,000
|_| 200-999
15. Estimated Assets $0 - $50,000 [_] $1,000,001 - $10 million [_| $500,000,001 - $1 billion

$50,001 - $100,000
$100,001 - $500,000
$500,001 - $1 million

[¥/ $10,000,001 - $50 million
[-] $50,000,001 - $100 million
[_] $100,000,001 - $500 million

III

[| $1,000,000,001 - $10 billion

|_| $10,000,000,001 - $50 billion
|_| More than $50 billion

 

16. Estimated liabilities $0 - $50,000
$50,001 - $100,000
| _; $100,001 - $500,000

| $500,004 - $1 million

[J $1,000,001 - $10 million

fy?) $10,000,001 - $50 million
[_| $50,000,001 - $100 million
[| $100,000,001 - $500 million

i

 

 

_| $500,000,001 - $4 billion
| $1,000,000,001 - $10 billion
|_| $10,000,000,001 - $50 billion

 

| More than $50 billion

 

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Debtor —Brittmoore SS Investment, LLC Case number (if known)

 

Name

le Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 6/01/2020

 

 

MM/DD/YYYY
x sy Stefan Knieling
SigratureOf authofized representative of debtor Printed name

Title | Managing Member

 

 

18. Signature of attorney X si Christopher Adams Date 6/01/2020

 

 

Signature of attorney for debtor MM/DDIYYYY

Christopher Adams
Printed name

Okin Adams LLP
Firm name

1113 Vine St., Suite 240
Houston, TX 77002
Number, Street, City, State & ZIP Code

Contact phone (713) 228-4100 Email address info@okinadams.com

 

24009857 TX
Bar number and State

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